












Dismissed and Memorandum Opinion filed October 14, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00834-CR

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&nbsp;

ALEKOS PAUL ZIMMER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from County Court at Law No. 1

Fort Bend County, Texas

Trial Court Cause No. 10-CCr-148566

&nbsp;



&nbsp;

MEMORANDUM
&nbsp;OPINION

Appellant entered a guilty plea to assault.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court deferred
adjudication of guilt and placed appellant under community supervision for nine
months.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal. 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The record supports the
trial court’s certification.&nbsp; See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

&nbsp;

Panel consists of Justices
Seymore, Boyce, and Christopher.

Do Not Publish C Tex. R. App. P. 47.2(b)





